                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


United States of America,                       )
                                  Plaintiff,    )
vs.                                             ) No. 98-0149-02-CR-W-FJG
Xavier Lightfoot,                               )     00-0395-04-CR-W-FJG
                                  Defendant.    )

                                         ORDER
       On Friday, August 5, 2005, the jury, having convicted defendant of Count III,
announced it could not reach a verdict as to which penalty to impose, death or life
imprisonment without release. Therefore, pursuant to the Federal Death Penalty
Statute, this Court is obligated to impose the default sentence of life imprisonment
without release. Preliminary to sentencing, the United States Department of Probation
is ordered to provide the Court and counsel with a modified presentence report no later
than September 8, 2005. Sentencing hearing will be held on September 30, 2005, at
9:30 a.m.


                                                /s/Fernando J. Gaitan, Jr.
                                                United States District Judge
Dated: August 8, 2005
Kansas City, Missouri




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